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11                                                            Special Counsel for Defendants

12                             IN THE UNITED STATES DISTRICT COURT

13                           FOR THE EASTERN DISTRICT OF CALIFORNIA

14                                        SACRAMENTO DIVISION

15

16
     RALPH COLEMAN, et al.,                                2:90-cv-00520 KJM-DB (PC)
17
                                              Plaintiffs, DEFENDANTS’ UPDATED
18                                                        ACTIVATION SCHEDULES FOR
                     v.                                   COMPLETION OF COURT-ORDERED
19                                                        SUICIDE PREVENTION
                                                          RECOMMENDATIONS
20   GAVIN NEWSOM, et al.,

21                                         Defendants.

22

23         On January 15, 2021, Defendants filed proposed activation schedules for the completion of

24   the Court-ordered suicide prevention recommendations. (ECF No. 7024.) On January 29, 2021,

25   the court approved the proposed activation schedules with specific direction to Defendants to

26   notify the Special Master “if any project runs thirty (30) days past any due date set in any

27   activation schedule.” (ECF No. 7043.) On May 4, 2021, the court ordered Defendants to file

28   updated activation schedules complete with current updates to the Actual Completion column.
                                                    1
      Defs.’ 10.4.21 Updated Activation Schd. for Suicide Prevention Recommendations (2:90-cv-00520 KJM-DB (PC))
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 1   (ECF No. 7150.) On May 12, 2021, Defendants timely filed updated activation schedules. (ECF

 2   No. 7160.) On May 27, 2021, the Court modified the January 29 bench order and ordered

 3   Defendants to notify the Special Master immediately whenever a determination is made that a

 4   project will be delayed and, not later than ten days after notice is provided to the Special Master,

 5   to file an activation schedule updated to reflect the new projected completion date. (ECF No.

 6   7187.) Defendants have filed updates on July 12, July 30, August 23, September 7, and

 7   September 13, 2021. (ECF Nos. 7225, 7256, 7281, 7299, and 7306.)

 8         Attached is a letter dated October 4, 2021, from the California Department of Corrections

 9   and Rehabilitation (CDCR), enclosing CDCR’s updated activation schedules for completion of

10   Court-ordered suicide prevention recommendations and September 24 letter notifying the Special

11   Master of delays in two suicide prevention projects reported on Defendants’ September 13, 2021

12   Implementation Schedule. (ECF No. 7306.) The updated activation schedule reflects the

13   following delays and changes: (1) Recommendation 17: Safety Planning (Electronic Healthcare

14   Records System (EHRS) Build, Test Phase of New Safety Plan, and Field Notification) is delayed

15   from September 30, 2021 to January 31, 2022; (2) Recommendation 21: Observation Levels

16   (Automation of Timely Suicide Precaution Rounding Compliance) is delayed from September 30

17   to October 15, 2021; and (3) the delay regarding Recommendation 28-29: Custody Discharge

18   Checks (Institutional Audit Tool) has been updated to reflect that the new activation date remains

19   to be determined (TBD) until the parties resolve the dispute regarding the final contents of the

20   memo, and resolve the definition of “materiality”, which is expected to be addressed by the court.

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      Defs.’ 10.4.21 Updated Activation Schd. for Suicide Prevention Recommendations (2:90-cv-00520 KJM-DB (PC))
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 1                                             CERTIFICATION

 2         Defendants’ counsel certifies that she reviewed the following orders relevant to this filing:

 3   ECF Nos. 6973, 7004, 7043, 7150, and 7187.

 4   Dated: October 4, 2021                                   Respectfully submitted,
 5                                                             ROB BONTA
                                                               Attorney General of California
 6                                                             DAMON MCCLAIN
                                                               Supervising Deputy Attorney General
 7

 8                                                             /S/ ELISE OWENS THORN
                                                               Elise Owens Thorn
 9                                                             Deputy Attorney General
                                                               Attorneys for Defendants
10
                                                               HANSON BRIDGETT LLP
11
                                                               /s/ Samantha D. Wolff
12
                                                               PAUL B. MELLO
13                                                             SAMANTHA D. WOLFF
                                                               LAUREL E. O’CONNOR
14                                                             DAVID C. CASARRUBIAS
                                                               Attorneys for Defendants
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      Defs.’ 10.4.21 Updated Activation Schd. for Suicide Prevention Recommendations (2:90-cv-00520 KJM-DB (PC))
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STATE OF CALIFORNIA —DEPARTMENT OF CORRECTIONS AND REHABILITATION   Document 7337   Filed 10/04/21    Page 4 of 14
                                                                                                     GAVIN NEWSOM, GOVERNOR

OFFICE OF LEGAL AFFAIRS
Jennifer Neill
General Counsel
P.O. Box 942883
Sacramento, CA 94283-0001




           October 4, 2021


           Damon McClain, Esq.
           Elise Owens Thorn, Esq.
           California Department of Justice
           455 Golden Gate Avenue, Suite 11000
           San Francisco, CA 94102-5500


           VIA ELECTRONIC MAIL ONLY

           RE: Hayes Recommendation Implementation Schedule

           Dear Mr. McClain and Ms. Thorn,

           Attached please find CDCR’s updated implementation schedule for completion of the Hayes
           recommendations. I also attach my September 24th letter to the Coleman Special Master and
           Plaintiffs’ counsel providing notice and the reasons for the change to the implementation
           schedule.

           Respectfully,


           /s/ Dillon Hockerson

           DILLON HOCKERSON
           Attorney
           Office of Legal Affairs
                                                                                                                                   CDCR's Implementation Plan for Outstanding Hayes Recommendations
                                                            Case 2:90-cv-00520-KJM-SCR                                                                         Document 7337                   Filed 10/04/21                      Page 5 of 14




                                                                                       Planned Complete




                                                                                                              Actual Complete
                                                             Estimated Start




                                                                                                                                                 Lead Person
                                                                           1
                                                                               Date
                      Recommendation                                                                                                                                                                                                     Status
Recommendation 12:
ASU Intake Cells2                                                                                                               D. Borg
                                                                                                                                                                       Complete. This phase will focus on the design of 51 new intake cells (CAL [4], KVSP [2], PVSP [4], SOL [3], CCI [8], CCWF [8], HDSP [10],
Phase one of Design                                          10/2/2020                4/30/2021             4/18/2021 D. Borg                                          COR [12])
                                                                                                                                                                       July 2021: Complete
Phase two of design                                          10/2/2020                6/30/2021             6/30/2021 D. Borg                                          This phase will focus on the design of 14 new intake cells (CHCF [1], CMF [3], ISP [2], SATF [1], SCC [3], SVSP [4])
                                                                                                                                                                       Construction for the new intake cells will begin in May 2021 and the cells will come on line as they are completed throughout 2021 and
Construction                                                    5/1/2021              3/30/2022                                 D. Borg                                2022 with all cells being completed by March 30, 2022.
Recommendation 13:
ASU Intake Cells                                            12/28/2020                10/3/2021                                 L. White




                                                                                                                                                                       May 2021: As of February 17, 2021, DAI has subsequently released an updated directive requiring the use of our manual intake cell
                                                                                                                                                                       tracking with the use of existing SharePoint software. Staff have been trained in the use of data entry into the system, as well as have
                                                                                                                                                                       been provided tools in extracting the data to ensure institutional compliance. Within this directive, DAI has incorporated monitoring
                                                                                                                                                                       requirements that are now being utilized during the monthly SPRFIT committee. Within 30 days, DAI Directorate will issue a directive
                                                                                                                                                                       memorandum to the institutions re-enforcing its existing policy of housing only newly admitted inmates in retrofitted cells, and ensure
                                                                                                                                                                       they are only housed there for the initial 72 hours. Institutions will have 30 days to train all custodial managers, custodial supervisors
                                                                                                                                                                       and custodial officers assigned to ASU and STRH on the policy. Institutional Associate Warden of Healthcare, or designee, will assign
                                                                                                                                                                       local supervisory oversight to monitor the policy. Monthly compliance reports will be submitted to the local SPRFIT committee. A CAP
                                                                                                                                                                       will be assigned for any institutions that are deficient. DAI Headquarters will conduct audits and meet with Wardens to review
Manual Tracking of Intake Cell Usage                         1/11/2021                3/12/2021             2/17/2021 L. White                                         compliance.
                                                                                                                                                                       July 2021: Due to an internal miscommunication, the development of the automated tracking system for intake cell usage will not be
                                                                                                                                                                       completed until the end of September. Roll out of new Strategic Offender Management System (SOMS) features occurs on the first
                                                                                                                                                                       Sunday of each month, therefore this item will be released on October 3, 2021.
                                                                                                                                                                       May 2021: SOMS has begun developing the automated system, and is currently undergoing a number of tests during this phase. SOMS
                                                                                                                                                                       has indicated they are on track with a potential completion slated for September 2021.DAI will be coordinating with EIS to develop an
                                                                                                                                                                       automated tracking system for intake cell usage. This process will involve approvals through various committees, a build for the actual
Development of Automated Tracking of Intake Cell Usage      12/28/2020                10/3/2021                                 L. White                               report in SOMS, negotiation with the parties, labor notification, and training.
                                                                                                                                                                       May 2021: This is ongoing as staff are currently utilizing the manual SharePoint tracking to ensure compliance. Upon completion of the
                                                                                                                                                                       SOMS automated system, staff will be provided with further direction on how to ensure compliance with this new system. Pending
                                                                                                                                                                       development of the automated tracking process; compliance with policy expectations will be reported monthly to institutional SPRFIT
Governance of Compliance with Intake Cell Usage                 9/1/2021                                  Ongoing               L. White                               Committee.
Recommendation 17:                                                     2/28/2022
Safety Planning                                              8/15/2020 11/30/2021                                               T. Williams
                                                                                                                                                                       Complete. May 2021: draft safety plan template has been completed. The form and accompanying policy and procedure have all been
                                                                                                                                                                       developed over the course of numerous meetings spanning 6+ weeks. The clinical nuances of the safety plan became more complex as
                                                                                                                                                                       CDCR contemplated the best ways to structure safety planning and this complexity resulted in the need for additional time to
                                                                                                                                                                       complete. Upon approval of concepts from OSM, it will be submitted to the EHRS build team for prioritization and development. Initial
                                                                                                                                                                       proposal has been developed and OSM has consulted on factors to consider for the revised safety plan model. Work is ongoing to
                                                                                                                      T. Williams                                      refine the model. Additional modifications will be made based upon procedural decisions regarding when safety plans must be created
Safety Planning Documentation                                8/15/2020                6/30/2021             6/24/2021 A. Carda                                         for patients at risk for suicide.




1
Some start dates are estimated, given the amount of time CDCR has been working on some projects
2
A more detailed construction schedule is included at the end of this document
                                                                                                       CDCR's Implementation Plan for Outstanding Hayes Recommendations
                                                            Case 2:90-cv-00520-KJM-SCR                                       Document 7337                        Filed 10/04/21                      Page 6 of 14
                                                                                                                                           July 2021: Complete. The policy and procedure language is complete and will be held until the release of all other components of this
                                                                                                                                           item.
                                                                                                                                           June 2021: The Policy and Procedure are routing through executive leadership for final approval and signature. The finalized versions
                                                                                                                                           will be held for release until the form has gone live in EHRS and training has been scheduled. May 2021: Significant modifications have
                                                                                                                                           been made based upon feedback from OSM. The form and accompanying policy and procedure have all been developed over the
                                                                                                                                           course of numerous meetings spanning 6+ weeks. The clinical nuances of the safety plan became more complex as CDCR
                                                                                                                                           contemplated the best ways to structure safety planning and this complexity resulted in the need for additional time to complete.
                                                                                                                                           Meeting is scheduled for May 13th to review these modifications with OSM ahead of moving policy language forward for internal
                                                                                                    T. Williams                            routing. Policy and procedure language is under development to outline requirements for when safety plans are required and the
Policy and Procedure Development                            12/21/2020     7/31/2021      7/23/2021 A. Carda                               expectations associated with the safety plans
                                                                                                                                           September 2021: The safety plan form is built in EHRS, however, it will not be released until the test phase is complete to
                                                                                                                                           determine if additional modifications are needed due to user testing in the test phase. Upon completion of the test phase and
                                                                       2/28/2022                    T. Williams                            training, the form will be made live in EHRS for use statewide.
EHRS Build                                                    2/1/2021 9/30/2021                    A. Carda                               June 2021: Pending CAPC approval and prioritization for build. Pending finalization of the safety plan proposal.
                                                                                                                                           September 2021: The results from the test phase at CIM yeilded only 4 safety plans using the proposed tool. After consultation and
                                                                                                                                           recommendation by Mr. Hayes, CDCR is proposing to expand the test phase to 2-3 additional institutions with larger local discharge
                                                                                                                                           samples to test this new protocol. This will necessitate additional time to train, implement, and follow up with the institutions as
                                                                                                                                           they utilize this tool. As such, an extension to the end of January 2022 is proposed.
                                                                                                                                           June 2021: CIM will be a test facility for the new safety plan template. They will receive training and expectations and the process will
                                                                           1/31/2022                T. Williams                            be overseen by the Statewide Suicide Prevention Coordinator assigned to Region 4. This phase will also involve feedback and any
Test Phase of New Safety Plan                                 8/1/2021     -9/30/2021               A. Carda                               necessary modifications to the EHRS document
                                                                                                                                           September 2021: Development of training continues, but scheduling with the field is dependent upon the finalization of the test
                                                                                                                                           phase. Once these activities are complete, the training will be finalized and scheduling of the training will be solidified.
                                                                                                                                           June 2021: The framework of the training has been constructed. The final module and information will be constructed once the EHRS
                                                                       2/28/2022                    T. Williams                            build has been completed and the policy language has been finalized. Pending finalization of the proposal, EHRS build, and finalization
Field Notification and Training                              4/15/2021 11/30/2021                   A. Carda                               of policy language.
                                                                                                                                           Compliance with required trainings is reviewed monthly in the statewide SPRFIT Committee and any institution below 90% is required
Compliance with Training Requirements                         1/1/2020                  Ongoing     T. Williams                            to submit a corrective action plan for reaching sustained compliance.
Recommendation 10:
SRASHEs and Referrals                                         1/1/2020     2/28/2021                T. Williams                            Complete
Modifications to EHRS                                       12/14/2020     1/19/2021       2/2/2021 D. Minter                              Complete. Pending final review and move to production
                                                                                                                                           May 2021: Suicide Prevention Coordinators for each region have been completing these audits on a weekly basis and providing audit
                                                                                                                                           results and any associated corrective action for deficiencies to the monthly statewide SPRFIT Committee. Regional SPRFIT Coordinators
Auditing of Emergent Referrals with SRASHEs                   1/6/2021                  Ongoing     T. Williams                            to begin manual auditing
                                                                                                                                           May 2021: Suicide Prevention Coordinators for each region have been completing these audits on a weekly basis and providing audit
                                                                                                                                           results and any associated corrective action for deficiencies to the monthly statewide SPRFIT Committee. Pending Regional SPRFIT
Governance of statewide compliance                           2/15/2021                  Ongoing     T. Williams                            Coordinators completion of monthly audits.
Recommendation 21:                                                       10/15/2021
Observation Levels                                                       9/30/2021                  M. Flores
                                                                                                                                           May 2021: coordination with the regional CNEs, RHCEs, and Institutional CNEs continues. Headquarters audits also continue to occur on
                                                                                                                                           a monthly basis. Institutional CNE, or designee, will assign supervisory oversight to monitor adherence to SP observation as ordered by
                                                                                                                                           a provider.
Suicide Precaution Rounding Auditing                         12/1/2020                  Ongoing     M. Flores                              Headquarters will conduct audits and meet with Regional CNEs and HCEs to review compliance.




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Some start dates are estimated, given the amount of time CDCR has been working on some projects
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                                                                                                                                          September 2021: Due to an unexpected server crash for 5 days, the completion of the report is delayed. Based upon these delays, it
                                                                                                                                          is expected that the build team is at least a week behind schedule. In order to facilitate this deadline and ensure that full user
                                                                                                                                          testing can be completed adequately, a revised completion date of October 15, 2021 is proposed.
                                                                                                                                          July 2021: The automation of timely suicide precaution rounding performance monitoring was tentatively scheduled to be complete by
                                                                                                                                          August 31, 2021. However, this was part of the larger SPRFIT pilot project which requires additional time for testing and statewide
                                                                                                                                          implementation. To accelerate the availability of this performance measure and associated data, a separate report is being created for
                                                                                                                                          timely suicide precaution checks. This report will include additional functionality for the institutions. The new report is anticipated to be
                                                                                                                                          completed and tested by September 30, 2021. Once the SPRFIT Dashboard is ready for statewide implementation, the suicide
                                                                                                                                          precaution rounding report with the additional functionality will be rolled back into the Dashboard so that all suicide prevention
                                                                                                                                          information is accessible on the same site.
                                                                                                                                          May 2021: the 4 pilot institutions in the SPRFIT Reboot are undergoing end user testing of this dashboard metric in preparation for a
                                                                                                                                          targeted summer 2021 release. The test phase of the overall project concludes in August, and this will allow for the test institutions to
                                                                                                                                          use this metric over the course of several months during the end user testing phase to ensure there are no issues with the metric itself
Automation of Timely Suicide Precaution Rounding                       10/15/2021                  M. Flores                              before it becomes available to the entire state. Design and development of the SPRFIT dashboard is underway and is scheduled to be
Compliance                                                  12/11/2020 9/30/2021                   S. Puente                              completed by 3/31/2021
Recommendation 1:
Pre-Service Training                                          1/1/2020    12/30/2020               A. Carda                               Complete
Curriculum development                                       1/27/2020      6/1/2020     8/27/2020 A. Carda                               Complete
Curriculum approval                                          8/27/2020     10/1/2020    12/28/2020 OTPD                                   Complete
Dissemination of curriculum                                  10/1/2020     10/1/2020    12/30/2020 OTPD                                   Complete
Delivery of curriculum to cadets                              1/1/2021     2/28/2021     2/25/2021 A. Carda                               Complete. Pending delivery to the cadets at the Academy
                                                                                                                                          May 2021: We had originally provided some earlier dates for Mr. Hayes to observe the training virtually, but when the schedule for
                                                                                                                                          OSM rounding of institutions was being discussed, he expressed a desire to observe the training in person, during his rounding. We are
                                                                                                                                          currently coordinating with Mr. Hayes on the best time for him to observe the training while he is onsite conducting his rounding this
                                                                                                                                          summer. Other members of the OSM are scheduled to observe the course on June 10, 2021. Pending observation by Mr. Hayes of the
OSM Observation                                              2/28/2021     6/30/2021     6/10/2021 A. Carda                               training
Recommendation 3:
Annual IST Training                                           1/1/2020 Ongoing                     T. Williams                            Complete
                                                                                                   J. Hernandez
Standardized scheduling of non-custody staff for training   12/30/2020     2/28/2021     2/19/2021 T. Williams                            Complete. Coordinating CCHCS SDU and CDCR OTPD for scheduling options through local IST offices.
                                                                                                                                          Complete; the 2/2/2018 memo titled, "Enhancements to the Suicide Prevention and Response Focused Improvement Teams" required
Institutional reporting of monthly compliance                 2/2/2018                 Ongoing     Local SPRFIT-Cs                        monthly reporting of compliance during the institutional SPRFIT Committees

                                                                                                                                          May 2021: we are refining the report for use in the statewide SPRFIT Committees. However, the statewide SPRFIT Committee reviews
                                                                                                                                          overall training compliance and the Suicide Prevention Coordinators in each region work with institutions to develop corrective action
                                                                                                                                          for deficient institutions. Clarification memo regarding Registry staff attending this required training was distributed to the field.
                                                                                                                                          Statewide SPRFIT Committee members receive quarterly compliance rates for each institution from the staff development unit for
Statewide oversight during statewide SPRFIT Committee         3/1/2021                 Ongoing     T. Williams                            CCHCS. Pending development of a reporting template that captures compliance based on formula of scheduled vs. attended
Recommendations 6-8:
R&R                                                          6/15/2020     5/31/2021               T. Williams                            Complete
                                                                                                                                          July 2021: Complete May 2021: CCI has indicated that an interim solution has been identified for patients to be screened in confidential
                                                                                                                                          settings for these initial contacts until a permanent physical plant modification can be finalized. The Suicide Prevention Coordinator for
                                                                                                                                          Region 3 continues to work closely with the institution on this project and will observe the interim locations during regularly scheduled
                                                                                                                                          site visits. Proposal to convert an unused area in R&R to nursing station is being presented at the institutional space committee in
                                                                                                                                          either January or February for approval. Fire marshal approval is pending; modifications to the space will occur once approval from fire
CCI Modifications                                            12/3/2020     5/31/2021     6/14/2021 CCI Leadership                         marshal is obtained.
                                                                                                                                          Complete. During the Q1 tour of PVSP, the Suicide Prevention Coordinator for Region 3 confirmed that modifications to the physical
                                                                                                                                          plant in R&R have been made and the screenings are now being conducted in a confidential setting. Modifications at PVSP have been
Observation of PVSP                                           1/6/2021     3/31/2021     3/17/2021 S. Mintz                               completed; observation to be scheduled during QI of 2021
                                                                                                                                          May 2021: The Suicide Prevention Coordinator for Region 1 conducted a site visit on 4/21/2021. However, no inmates were received
                                                                                                                                          that day so the R&R process was unable to be observed. Another site visit will occur during Q2 and attempts will be made to observe
                                                                                                                                          R&R at this time. Training was completed at CMF regarding appropriate screening procedures in R&R; observation to be scheduled
Observation of CMF                                            1/6/2021     3/31/2021     4/21/2021 T. Williams                            during Q1 of 2021



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                                                                                                                                             y            p                    g       y        p                                                    y
                                                                                                                                          conducting the observation. We were able to find coverage for this observation the week after the deadline. May 2021: Recruitment
                                                                                                                                          of the R2 Suicide Prevention Coordinator has taken longer than expected. In order to ensure observation of the R&R process at CMC
                                                                                                                                          occurs in Q2 of 2021, we will be redirecting one of the other Regional Suicide Prevention Coordinators to tour CMC. Training was
Observation of CMC                                            1/6/2021     6/30/2021      7/8/2021 T. Williams                            completed and routine audits are conducted locally at CMC; observation to be scheduled during Q1 of 2021
                                                                                                                                          July 2021: Complete. May 2021: The Suicide Prevention Coordinator for Region 1 was not hired until April 2021, so the first quarter
                                                                                                                                          rounding was unable to be completed. However, this Specialist will begin rounding in Q2 and this item will be addressed. Training was
Observation of SQ                                             1/6/2021     7/31/2021      7/6/2021 T. Williams                            completed at SQ about confidentiality during nurse screenings; observation to be scheduled during Q1 of 2021
Recommendation 9:
SRE Mentoring                                                 1/5/2021     6/30/2021               A. Carda
                                                                                                                                          June 2021: The policy has been submitted to the OSM for review and feedback. Upon completion of this review and subsequent
                                                                                                                                          modifications, the policy and procedure will be routed internally and will be prepared for labor notification. May 2021: In order to
                                                                                                                                          ensure the operationalization of this at the institutional level, interally, the suicide prevention unit determined it would be most
                                                                                                                                          prudent to have select SPRFIT Coordinators and Chiefs of Mental Health to review and provide feedback on these documents. Draft
                                                                                                                                          language is completed and is currently with those individuals in the field for feedback with a deadline of May 17, 2021. Initial stages of
Development of policy and procedures for SRE Mentoring        1/5/2021     8/31/2021               A. Carda                               developing language for Policy and Procedure. This will also involve coordination and consultation with the OSM.
                                                                                                                                          July 2021: Complete. While the goal was to complete by 6/30/2021, due to routing and additional information from site visits at CMF,
                                                                                                                                          last minute changes were necessary resulting in the slight delay.
                                                                                                                                          June 2021: the Quality of Care tool has been modifed and will be included in the package submitted to the OSM for review and
                                                                                                                                          feedback. May 2021: In order to ensure the operationalization of this at the institutional level, interally, the suicide prevention unit
                                                                                                                                          determined it would be most prudent to have select SPRFIT Coordinators and Chiefs of Mental Health to review and provide feedback
                                                                                                                                          on these documents. Draft language is completed and is currently with those individuals in the field for feedback with a deadline of
                                                                                                                                          May 17, 2021. Pending draft language of policy and procedure to ensure all aspects of these are covered in the auditing tool. This will
Enhancements to the auditing tool (Quality of Care tool)     2/15/2021     6/30/2021      7/2/2021 A. Carda                               also involve coordination and consultation with the OSM.
Training delivery for mentors                                 5/1/2021    10/31/2021               A. Carda                               June 2021: Pending finalization of policy and procedures and modifications of the auditing tool.
Recommendation 18:
Safety/Treatment Planning for Suicide Risk Assessment         1/1/2020 Ongoing                     T. Williams                            Complete
                                                                                                   J. Hernandez                           Complete. CCHCS Staff Development Unit and OTPD will collaborate to determine ways to standardize scheduling of staff for annual IST
Institutional Scheduling of Clinicians                        1/4/2021      3/1/2021     2/19/2021 OTPD                                   Suicide Prevention training to aid in better tracking of compliance.
                                                                                                                                          Institutions are required to monitor compliance with staff attendance of IST Suicide Prevention training through the monthly SPRFIT
Institutional Monitoring of Compliance                        2/2/2018                 Ongoing     Local SPRFIT-Cs                        Committee
                                                                                                                                          Pending results of standardized scheduling, statewide SPRFIT Committee will assume the responsibility of monitoring compliance for
Statewide Governance of Compliance                            3/1/2021                 Ongoing     T. Williams                            IST Suicide Prevention training.
Recommendation 20:
Psychiatric Technician Rounds                                11/1/2020 Ongoing                     M. Flores
                                                                                                                                          Nursing Supervisors complete quarterly audits of the PT rounds in restricted housing units to ensure daily rounds were completed
Completion of Psych Tech Fidelity Checks                     11/1/2020                 Ongoing     Institutional CNEs                     consistent with policy and the fidelity of the rounds.
                                                                                                                                          Starting April 2021, the audit will be sent to SPRFIT Coordinator by the 5th of the month to monitor compliance in the institutional
Institutional Monitoring of Compliance                        4/1/2021                 Ongoing     Institutional CNEs                     SPRFIT Committee.
                                                                                                                                          May 2021: Regional CNEs will present results of fidelity checks for Quarter 1 and 2 to the statewide SPRFIT Committee. This audit and
Statewide Governance of Compliance                            7/1/2021                 Ongoing     Regional CNEs                          summary is sent to HQ on a quarterly basis to be reported in the statewide SPRFIT Committee
Recommendation 26:
Alternative Housing                                          6/15/2020                             T. Williams                            Complete
                                                                                                                                          Establishment of the Walker Unit at CIW significantly improved transfer timelines for female MHCB needs. This activation occurred
                                                                                                                                          after Mr. Hayes' tour at the female institutions, and thus, requires an additional review of the results of this effort during his next
CIW/CCWF Transfer Timeframes                                 6/17/2018                  12/31/2018 D. Chaney                              monitoring tour.
                                                                                                                                          During his previous round, Mr. Hayes found that the patients in alternative housing at CHCF were not provided stack-a-bunk beds
                                                                                                                                          consistently. Since his round, CHCF has established a process to ensure all staff are aware of where to obtain the stack-a-bunks when
                                                                                                                                          needed and a regular audit of patients in alternative housing is conducted to ensure compliance. Mr. Hayes will need to review the
CHCF Provisioning of Beds                                    2/15/2020                 Ongoing     Y. Rao                                 results of this effort during his next monitoring tour.
Recommendation 28-29                                                                               T. Williams
Custody Discharge Checks                                      1/6/2020 TBD                         S. Williams


                                                                                                                                          July 2021: Complete
                                                                                                                                          May 2021: Updated form is in the final phases of routing through the approval committees for release to the field. It is anticipated to
                                                                                                   T. Williams                            be released in May or June 2021. Modifications have been made to the form, in coordination with OSM. The completed form is being
Modifications to the 7497 Form                                1/6/2020     6/30/2021      6/3/2021 S. Williams                            prepared to route through the various committees for approval.




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                                                                                                                                          October 2021: On September 21, 2021, the court issued an order denying Defendant’s Motion for Reconsideration, without
                                                                                                                                          prejudice, regarding the Special Master’s determination of “material modification” for CDCR’s draft policy, “Mental Health Crisis
                                                                                                                                          Bed Custody Discharge Checks”, revisions to CDCR Form MH-7497, “Inpatient and Alternative Housing Discharge Custody Checks
                                                                                                                                          Sheet”, and introduction of a new audit tool. The definition of “materiality” is also expected to soon be before the court. Due to the
                                                                                                                                          parties ongoing disputes to the draft policy, the completion date will remain TBD until the parties can agree to the final contents of
                                                                                                                                          the policy, and whether the policy is a “material modification” that should be included in the Program Guide.
                                                                                                                                          September 2021: On August 25, 2021, the Special Master determined the release memo announcing the modifications to the 7497
                                                                                                                                          form and introduction of the auditing expectations was a material modification to the MHSDS Program Guide. On September 2, 2021,
                                                                                                                                          in connection with their arguments about materiality, Plaintiffs requested additional language be incorporated in the proposed memo.
                                                                                                                                          Defendants have presented a motion for reconsideration on August 30, 2021. Due to the parties disagreement on the contents of the
                                                                                                                                          memo and the pending motion before the court, an anticipated completion date is dependent on the resolution of this matter and will
                                                                                                                                          remain TBD until resolution is reached
                                                                                                                                          August 2021: During routing of the release memo, it was determined that this memo required CDCR to consider whether it is a material
                                                                                                                                          modification of the program guide. As instructed, CDCR presented this memo to the small workgroup with OSM members, where it
                                                                                                                                          was determined not to be a material modification to the Program Guide. The memo was then forwarded to the Special Master, on
                                                                                                                                          August 11, 2021. The Special Master then has 14 days to provide his determination of whether it materially modifies the Program
                                                                                                                                          Guide. The soonest this memo can be released is August 25, 2021.
                                                                                                                                          July 2021: The audit tool and associated guidebook were completed by this date, however they have not been reviewed by all
                                                                                                                                          appropriate stakeholders. The anticipated completion date allows the remaining stakeholders to review their feedback and to be
                                                                                                                                          incorporated as necessary.
                                                                                                                                          May 2021: All required union notifications have been made and the tool is ready for release to the field when the updated 7497 form is
                                                                                                   T. Williams                            released. The Audit tool and guidebook have been completed, in coordination with the OSM. Labor notifications are being made
Institutional Audit Tool                                      1/6/2020 TBD                         S. Williams                            currently and require 75 days.
                                                                                                   T. Williams                            Pending release of new form and audit tool and guidebook. Once those are complete, the regional SPRFIT Coordinators will begin
                                                                                                   S. Mintz                               coordinating with the institutions and will report results of the audits and any associated Corrective Action Plans to the statewide
Reporting Structure Development                              6/30/2021                 Ongoing     N. Hudspeth                            SPRFIT Committee.
Recommendation 31:                                                                                 T. Williams
Local SPRFIT Committee                                        2/1/2020     2/28/2022               A. Lambert
                                                                                                                                          August 2021: The test phase will conclude in October 2021. Final recommendations will be presented to the HQ workgroup in
                                                                                                                                          December 2021 regarding how to move forward with a statewide rollout. At this time, a statewide roll out will likely begin by February
                                                                                                                                          2022, representing a delay by 2 months from the originally planned December 2021 statewide rollout. The delay is the result of ongoing
                                                                                                                                          work with the test sites to put into practice tools associated with the test phase.
                                                                                                                                          This interdisciplinary team has developed standardized metrics, an automated report for the SPRFIT Committees at the institution, and
                                                                                                                                          has begun piloting the training to the field. Continued work on the finalization of the SPRFIT dashboard is underway. By the end of
                                                                                                                                          March 2021, all initial SPRFIT materials will be completed for test phase, including first version of the automated SPRFIT Report. April
                                                                                                                                          2021-July 2021 the new process will be rolled out to four test institutions to validate data, make refinements to the automated reports
                                                                                                                                          and SPRFIT materials, and evaluate new SPRFIT process for efficiency/effectiveness. August 2021 the workgroup and MH leaders will
                                                                                                                                          consider results from the test phase and determine appropriate changes/reports to be rolled out statewide. December 2021 the full
SPRFIT Reboot with CCHCS QM                                  2/14/2020     2/28/2022               A. Lambert                             program will be implemented statewide.
                                                                                                                                          Complete. Draft template LOP has been completed. Finalization of the language needs to be done and should be accomplished by the
                                                                                                                                          end of January. Labor notice, requiring 75 days will be made upon completion of the language. Release to the field with 30 days to
Bad News Notification Process                                7/16/2020     5/31/2021     4/28/2021 T. Williams                            implement will follow.
                                                                                                                                          July 2021: Complete. Training for all clinical staff was provided on 6/29/2021; required build in EHRS was completed on 6/30/2021.
                                                                                                                                          Policy finished routing and was released to the field on 7/12/2021
                                                                                                                                          May 2021: Policy and procedure have been reviewed internally and have been submitted to the Office of the Special Master and
                                                                                                                                          Plaintiffs for their review on May 12, 2021. The EHRS modifications have been completed. Training is in development to be delivered to
                                                                                                                                          the field upon signature of the policy and procedure. The policy and procedure is being routed for internal review. It will then be
                                                                                                                                          submitted to stakeholders for review. Simultaneously, the EHRS modifications will be prioritized and made. Upon finalization of the
Suicide Risk Management Program                               2/6/2018     5/31/2021     7/12/2021 R. Dhesi                               policy and procedure, training will be developed and delivered to the field.
                                                                                                                                          May 2021: As part of their regular process during site visits, the Suicide Prevention Coordinators in each region review the institutional
                                                                                                                                          LOPs to ensure compliance with statewide policies and memo directives. Any deviations from policy will be reflected in
                                                                                                                                          recommendations/Corrective Action for the institution to address. Review of all institutional LOPs is being completed to ensure the
                                                                                                                                          LOPs have all of the requisite language regarding required members of the SPRFIT Committee and that they have incorporated all
                                                                                                                                          aspects of the 2018 memo, "Enhancements to the Suicide Prevention and Response Focused Improvement Teams". Any deficiencies
Local Operating Procedure Review                             10/1/2020 Ongoing                     T. Williams                            will be routed to the institution for modification.
Recommendation 32:
Reception Centers                                            10/1/2020     1/31/2021               T. Williams                            Complete
Expectations Memo for Reception Centers                      10/1/2020     1/11/2021     1/27/2021 T. Williams                            Complete


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                                                                                                   T. Williams
                                                                                                   N. Nikkel
                                                                                                   A. Cairns                              Reception Center Chiefs of Mental Health shall ensure results of audits required in the expectations memo are presented in the
Sustainability                                                2/7/2021 Ongoing                     S. Neumann                             monthly SPRFIT Committees and that any necessary corrective action is adequately addressed and completed.
Recommendation 32:
MHCB Privileges                                              6/15/2020                             T. Williams



                                                                                                                                          September 2021: Construction activities are underway. Due to procurement and material delivery delays, the project will not be
                                                                                                                                          completed until November 30, 2021.
                                                                                                                                          May 2021: The design of the project has been approved by the State Fire Marshall, as of April 26, 2021. Construction is targeted to be
                                                                                                                                          completed by 9/30/2021. FPCM has organized several conference calls including CCWF staff to review siting options for the walk alone
                                                                                                                                          yards adjacent to the Central Health Services Building. Siting considerations include providing secure fencing, appropriate distance
                                                                                                                                          from building and allowing the existing patio to be utilized by other inmate-patients. Concurrence on the scope occurred in December
                                                                                                   S. Neumann                             2020; the resulting design schedule will target approval by the State Fire Marshal by June 1, 2021. A construction schedule will be
CCWF Renovations                                            10/28/2019    11/30/2021               D. Borg                                developed at that time.

                                                                                                                                          July 2021: Complete. As of April 2021, the temporary remediation to escort patients to ASU for yard is underway. The durable solution
                                                                                                                                          involving construction of a small management yard in the CTC yard will be requested to be included in the FY 2022/23 budget.
                                                                                                                                          May 2021: The Suicide Prevention Coordinator assigned to Region 3 will observe this process during site visits to COR to ensure that
                                                                                                                                          patients are able to utilize these walk alone yards. COR is currently utilizing ASU walk alone yards and escorts patients from the MHCB
CSP-COR Renovations                                          10/3/2019                   4/30/2021 S. Harris                              to this location. The construction of walk alone yards adjacent to the CTC remains in the initial phases.
WSP Renovations                                              12/1/2018                    3/1/2019 A. Cairns                              Complete; a walk alone yard has been placed in the CTC yard to meet yard needs for ASU and max security patients in the CTC.
                                                                                                                                          July 2021: Complete. As of September 2020, the mental health supervisors have completed their performance improvement project
                                                                                                                                          associated with this deficiency. No further action is required at this time.
SOL MHCB Deficiencies                                         8/1/2020      9/1/2020      9/1/2020 B. Perlmutter                          A workgroup convened to identify root causes of the identified problems in the MHCB related to 114As and out-of-cell time.
                                                                                                                                          May 2021: The Suicide Prevention Coordinator assigned to Region 3 will continue to monitor the MHCB during regularly scheduled site
                                                                                                                                          visits to ensure patients are being given access to property and privileges and that documentation by the treatment team clearly
                                                                                                                                          reflects property access. Training for clinicians in the MHCB related to issuance of property and privileges commenced in July 2020.
                                                                                                                                          The MHCB supervisor audits orders placed for patients to ensure they are appropriate and allow for property and privileges
LAC MHCB Deficiencies                                         7/1/2020                 Ongoing     J. Walsh                               commensurate with the patient's clinical presentation.
                                                                                                                                          Complete; SATF established clarification language in their MHCB operating procedure outlining the requirements for phone call
SATF MHCB Deficiencies                                       12/1/2019                    1/8/2020 J. Choy                                provisions for patients receiving treatment in the MHCB.
Recommendation 32:                                                                                 T. Williams
CQI                                                                                                A. Lambert
                                                                                                                                          September 2021: Upon further review, and in consultation with the OSM, Defendants are revising this item to document that full and
                                                                                                                                          final roll out of this item is inextricably tied to the SPRFIT Reboot project outlined in Recommendation 31 above. Given this analysis,
                                                                                                                                          the revised completion is being moved to 2/28/2022. It should be noted that the development of the manual self-assessment tool for
                                                                                                                                          use at the local level is actively being utilized by the 4 test institutions in the SPRFIT Reboot trial implementation. The full CQIT contains
                                                                                                                                          all 19 suicide prevention indicators, as identified by Mr. Hayes, to be used at the regional/statewide level.
                                                                                                                                          May 2021: A manual self-assessment tool has been developed as an interim tool to be utilized until a more fully automated tool can be
Refinement of CQI - Suicide Prevention Tool and Report                                             T. Williams                            finalized. CDCR continues to work to finalize the template of the CQI-Suicide Prevention tool. Work to complete the language to
Templates                                                     1/8/2021     2/28/2022               A. Lambert                             present to the OSM is underway and we will schedule consultation meetings with the OSM as we move closer to a complete draft.
                                                                                                                                          September 2021: As indicated in the above item, this is tied directly to the SPRFIT Reboot project. Training has been delivered to the 4
                                                                                                                                          test institutions and the materials will be used for statewide implementation upon the conclusion of the SPRFIT Reboot project,
                                                                                                                                          currently slated for February 28, 2022.
                                                                                                   T. Williams                            May 2021: Training for the SPRFIT Reboot test institutions is being delivered in May 2021. Upon completion of the draft, training will be
Train Institutional Staff                                    2/28/2021     2/28/2022               A. Lambert                             scheduled with institutional staff to complete this report utilizing a guidebook, instructions, and template for completion.
                                                                                          Lead Person Roster
                                                                     Name
                                                          Last         First                                  Agency
                                                          Borg         Dean            CDCR/FPC&M
                                                          Carda        Amber           CDCR/DCHCS - Mental Health
                                                          Ceballos     Laura           CDCR/DCHCS - Mental Health
                                                          Flores       Marcie          CCHCS/Nursing Services
                                                          Lambert      Annette         CCHCS/Quality Management
                                                          Mehta        Amar            CDCR/DCHCS - Mental Health
                                                          Williams     Sircoya                  CDCR/DAI - MH Compliance Team


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                                                          Williams      Travis        CDCR/DCHCS - Mental Health




                                                               Acronym List
                          Term                                                                  Definition
                          ASU                             Administrative Segregation Unit
                           CAL                            Calipatria State Prison
                         CCHCS                            California Correctional Health Care Services
                           CCI                            California Correctional Institution
                         CCWF                             Central California Women's Facility
                         CDCR                             California Department of Corrections
                          CHCF                            California Health Care Facility
                          CIW                             California Institution for Women
                          CMC                             California Men's Colony
                          CMF                             California Medical Facility
                          CNE                             Chief Nurse Executive
                          COR                             California State Prison - Corcoran
                           CQI                            Continuous Quality Improvement
                           CTC                            Correctional Treatment Center
                           DAI                            Division of Adult Institutions
                          EHRS                            Electronic Health Record System
                           EIS                            Enterprise Information Systems
                         FPCM                             Facility Planning, Construction and Management Division
                           HCE                            Health Care Executive


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                          HDSP                            High Desert State Prison
                           HQ                             Headquarters
                           ISP                            Ironwood State Prison
                           IST                            In-Service Training
                          KVSP                            Kern Valley State Prison
                           LAC                            California State Prison - Los Angeles County
                          LMS                             Learning Management System
                           LOP                            Local Operating Procedure
                          MHCB                            Mental Health Crisis Bed
                           OJT                            On-the-Job Training
                          OSM                             Office of the Special Master
                          OTPD                            Office of Training and Professional Development
                            PT                            Psychiatric Technician
                          PVSP                            Pleasant Valley State Prison
                           QM                             Quality Management
                          R&R                             Receiving & Release
                          SATF                            Substance Abuse Treatment Facility
                           SCC                            Sierra Conservation Camp
                          SDU                             Staff Development Unit
                          SMY                             Small Management yard
                           SOL                            California State Prison - Solano

                         SPRFIT                           Suicide Prevention and Response Focused Improvement Team

                        SPRFIT-C                          Suicide Prevention and Response Focused Improvement Team - Coordinator
                           SQ                             San Quentin
                        SRASHE                            Suicide Risk and Self Harm Evaluation
                           SRE                            Suicide Risk Evaluation
                          SVSP                            Salinas Valley State Prison
                          WSP                             Wasco State Prison

                                             New Intake Cell Construction Schedules by Prison
                                                                                         Projected
                                                            Number of     Projected
                                                                                        Construction
                         Prison                             New Intake   Construction
                                                                                        Completion
                                                                                                       Multiple Phases of Construction (Y/N)?
                                                              Cells       Start Date
                                                                                           Date

                           CAL                                  4         5/1/2021      11/1/2021                        N
                          KVSP                                  2         5/1/2021      11/1/2021                        N
                          PVSP                                  4         5/1/2021      11/1/2021                        N
                          SOL                                   3         5/1/2021      11/1/2021                        N

                          CHCF                                  1         7/1/2021      1/1/2022                         N
                          CMF                                   3         7/1/2021      1/1/2022                         N
                           ISP                                  2         7/1/2021      1/1/2022                         N
                          SATF                                  1         7/1/2021      1/1/2022                         N
                           SCC                                  3         7/1/2021      1/1/2022                         N

                          CCI                                   8         5/1/2021      2/1/2022                   Y (2 Phases)
                         CCWF                                   8         5/1/2021      2/1/2022                   Y (2 Phases)
                         HDSP                                   10        5/1/2021      2/1/2022                   Y (2 Phases)

                          SVSP                                  4         7/1/2021      3/30/2022                  Y (2 Phases)
                          COR                                   12        5/1/2021      3/30/2022                  Y (3 Phases)




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                                                                                                     GAVIN NEWSOM, GOVERNOR

OFFICE OF LEGAL AFFAIRS
Jennifer Neill
General Counsel
P.O. Box 942883
Sacramento, CA 94283-0001




           September 24, 2021


           Special Master Lopes
           Pannone Lopes Deveraux and O’Gara LLC
           Northwoods Office Park, Suite 215N
           1201 Atwood Avenue
           Johnston, RI 02919


           VIA ELECTRONIC MAIL ONLY


           Dear Special Master Lopes,

           I write to provide notice, in accordance with the May 27, 2021 minute order, that a suicide
           prevention project reported on Defendants’ September 13, 2021 Implementation Schedule has
           been delayed. In the May 27th minute order, the court ordered that Defendants shall “notify the
           Special Master immediately whenever a determination is made that a [suicide prevention]
           project will be delayed and, not later than ten days after notice is provided to the Special Master,
           to file an activation schedule updated to reflect the new projected completion date.” (Minute
           Order ECF No. 71817.) As discussed below, Recommendation 17: Safety Planning (Electronic
           Healthcare Records System (EHRS) Build, Test Phase of New Safety Plan, and Field Notification),
           and Recommendation 21: Observation Levels (Automation of Timely Suicide Precaution
           Rounding Compliance) are delayed.

           First, Recommendation 17: Safety Planning was scheduled to be completed on November 30,
           2021, and is now scheduled for completion on February 28, 2022. The delay is mainly due to the
           necessity to expand the “The Test Phase of New Safety Plan” (Test Phase), which was scheduled
           to be completed on September 30, 2021. The expansion is required due to an institution
           producing an inadequate number of samples during the test phase. Defendants are expanding
           the test phase to two-to-three additional institutions with a larger sample population which will
           require additional time to train staff, implement the new tool, and assess how the institutions
           utilized the new tool. The new completion date for the Test Phase portion of Recommendation
           17 is now January 31, 2022. The delay for the Test Phase affects the “EHRS Build” and “Field
           Notification and Training” completion dates of Recommendation 17 due to the potential for
           additional information that could be assessed from the additional samples.

           Second, Recommendation 21: Observation Levels was scheduled to be completed on September
           30, 2021. However, the “Automation of Timely Suicide Precaution Rounding Compliance” has
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experienced a server crash for several days. The new completion date for Recommendation 21
is now October 15, 2020.

Please let me know if you have any questions about the changes to the activation schedule.

Respectfully,


/s/ Dillon Hockerson

DILLON HOCKERSON
Attorney
Office of Legal Affairs
